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                                                                              United States District Court
                                                                                Southern District of Texas
                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS                              ENTERED
                            HOUSTON DIVISION                                     October 10, 2024
                                                                                Nathan Ochsner, Clerk

Maxiel De La Garza                           §
                                             §
versus                                       §        Civil Action 4:24−cv−01903
                                             §
Wells Fargo Bank, N.A.                       §


                                ORDER OF DISMISSAL

     Counsel for the parties have advised the Court that an amicable settlement has been
reached in this action. This case is hereby DISMISSED on the merits, without prejudice to
the right of counsel to move for reinstatement within sixty (60) days on presentation of
proof that the settlement could not be consummated. All motions currently pending are
denied without prejudice. Any movant seeking to resubmit or reurge those motions must
do so within 14 days from the date any motion for reinstatement is filed.
     It is so ORDERED.

     Signed on October 10, 2024.
